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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


IN RE KEURIG GREEN MOUNTAIN SINGLE-SERVE
COFFEE ANTITRUST LITIGATION.
                                                            CIVIL ACTION NO.: 14 MD 2542 (VSB) (SLC)

                                                                                ORDER



SARAH L. CAVE, United States Magistrate Judge.

         The oral argument on the parties’ motions for spoliation sanctions (ECF Nos. 1282; 1289)

previously scheduled to occur at 10:00 a.m. on January 11, 2022 in person will now be conducted

by videoconference. By Friday, January 7, 2022, the parties shall: (i) email to Chambers at

Cave_NYSDChambers@nysd.uscourts.gov the secure videoconference link; and (ii) file a letter on

the docket containing information on how the public can access the hearing on a listen-only basis.

The parties shall arrange for a court reporter to be present at the videoconference.

         The parties are also advised that the Court will refer to exhibits according to their ECF

numbers (e.g., ECF No. 1287-1, etc.), not by their exhibit numbers or letters. By Friday, January 7,

2022, the Court will share with the parties a list of questions, which the parties will be encouraged

to address during oral argument. Demonstratives will be permitted, but are not required.

         The telephone conference previously scheduled for January 7, 2022 at 4:00 pm (ECF

minute entry Dec. 16, 2021) is CANCELLED.

Dated:          New York, New York
                January 3, 2022
                                                      SO ORDERED.
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                                     SARAH L. CAVE
                                     United States Magistrate Judge




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